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                   UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF ARKANSAS
                        NORTHERN DIVISION

RUBEN RIVERA                                                         PLAINTIFF
#45919

V.                       No. 3:20CV00274-DPM-JTR

KEITH BOWERS, Administrator,
Craighead County Detention Center                                 DEFENDANT


                                    ORDER

      On October 7, 2020, the Court granted the Motion to Amend filed by Plaintiff

Ruben Rivera (“Rivera”). Docs. 6 & 7. Accordingly, the Clerk is directed to docket

a copy of Doc. 6 as Rivera’s Amended Complaint.

      IT IS SO ORDERED this 29th day of December, 2020.



                                     ____________________________________
                                     UNITED STATES MAGISTRATE JUDGE
